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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

                                                   :
 STATE FARM FIRE AND CASUALTY                      :
 COMPANY,                                          :      CIVIL ACTION No.:
                                                   :      2:19-cv-18461-MCA-LDW
                                                   :
                             Plaintiff,            :
                                                   :
               v.                                  :
                                                   :
 JASON HINES, INDIVIDUALLY, AND D/B/A              :
 DEDICATED BUSINESS SYSTEMS                        :
 INTERNATIONAL, LLC,                               :
                                                   :
 and                                               :
                                                   :
 DEDICATED BUSINESS SYSTEMS                        :
 INTERNATIONAL, LLC,                               :
                                                   :
 and                                               :
                                                   :
 TRI-STATE COMMUNICATION SERVICES,                 :
 LLC, D/B/A US VOICE AND DATA, LLC,                :
                                                   :
                             Defendants.           :
                                                   :

                                          STIPULATION

        IT IS HEREBY STIPULATED AND AGREED, by and between State Farm Fire and

 Casualty Company (“State Farm”) and Defendants, Jason Hines, Individually, and d/b/a

 Dedicated Business Systems International, LLC (“Hines”), Dedicated Business Systems

 International, LLC (“DBSI”) and Tri-State Communication Services, LLC, d/b/a US Voice and

 Data, LLC (“Tri-State”):

        1.     State Farm filed the instant action seeking a declaration of its duties and

 obligations to Defendants under certain policies of insurance issued by State Farm to DBSI, in

 connection with the underlying action captioned Avaya Inc. v. Raymond Bradley Pearce a/k/a

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 “Brad” Pearce, et al., Case No. 3:19-cv-00565, pending in the United States District Court for

 the Northern District California (“Underlying Action”).

        2.     State Farm issued Businessowners Policy No. 90-BK-F157-4 to DBSI, which

 became effective on September 28, 2010 and was renewed annually through September 28, 2012

 (“2010 Policy”).

        3.     State Farm issued Businessowners Policy No. 90-BQ-L460-6 to DBSI, which

 became effective on August 15, 2013 and was renewed annually through August 15, 2019

 (“Policy”).

        4.     State Farm also issued Commercial Liability Umbrella Policy No. 90-BR-P944-9

 to DBSI, which became effective on October 17, 2012 and was renewed annually through

 October 17, 2019 (“CLUP Policy”).

        5.     The 2010 Policy, Policy and CLUP Policy are referred to as the “State Farm

 Policies”.

        6.     The State Farm Policies potentially provide coverage to the Named Insured,

 DBSI, and any person or entity who satisfies the definition of “Who Is An Insured” or any

 person or entity who is added to the State Farm Policies as an additional insured by endorsement.

        7.     Hines satisfies the definition of “Who Is An Insured” and, therefore, qualifies as

 an insured under the State Farm Policies with respect to the conduct of DBSI’s business.

        8.     Tri-State does not satisfy the definition of “Who Is An Insured” and is not named

 as an additional insured by endorsement and, therefore, does not qualify as an insured under the

 State Farm Policies.




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        9.      Tri-State agrees that it does not qualify as an insured under the State Farm

 Policies and withdraws its claims for coverage under the State Farm Policies for any of the

 claims asserted against it in the Underlying Action.

        10.     The 2010 Policy was in effect from September 28, 2010 and was renewed

 annually through September 28, 2012.

        11.     As the allegations in the second amended complaint filed in the Underlying

 Action (“Underlying Second Amended Complaint”) are currently pled, it does not appear that

 any damages sought by Avaya Inc. (“Avaya”) arose out of conduct that took place prior to 2014.

        12.     Hines and DBSI agree there is no coverage potentially available under the 2010

 Policy and withdraw their claims for coverage under the 2010 Policy for any of the claims

 asserted against them in the Underlying Action.

        13.     In accordance with the above, State Farm agrees to withdraw Count I, Count II,

 Count V, and Count XI, and any claims related to Tri-State’s claim for coverage or Hines and

 DBSI’s claim for coverage under the 2010 Policy, of its Amended Complaint for Declaratory

 Judgment.

        14.     State Farm, Hines, DBSI and Tri-State understand and agree that this Stipulation

 relates to the claims alleged in the Underlying Action as currently set forth in the underlying

 second amended complaint, which the parties understand to be the current operative complaint.

 The parties agree to meet and confer to determine the applicability of the stipulations set forth

 herein should the underlying complaint be amended and agree that the stipulations will be

 amended in accordance with potential new allegations should an amended complaint make

 allegations prior to 2014 or implicate insurance coverage for Tri-State




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 KENNEDYS CMK, LLP                        THE KILLIAN FIRM, P.C.

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 Dated: April 2, 2020                          SO ORDERED
                                                 s/Madeline Cox Arleo       .
                                               MADELINE COX ARLEO, U.S.D.J.

                                               Date: 4/3/20




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